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             3Jn tbe Wniteb ~tates <!Court of jfeberal <!Claitns
                                            No. 19-1251C

                                      (Filed: November 22, 2019)

                                     (NOT TO BE PUBLISHED)

                                                )
 AMITZAH MITZVAH,                               )
                                                )
                        Plaintiff,              )
                                                )
        v.                                      )
                                                )
 UNITED STATES,                                 )
                                                )
                        Defendant.              )
------------~)
       Amitzah Mitzvah, Washington, D.C.

       Erin K. Murdock-Park, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant. With her were Joseph H.
Hunt, Assistant Attorney General, Civil Division, Robert E. Kirschman, Jr. Director, and Alison
Kidd-Miller, Assistant Director, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, D.C.

                                      OPINION AND ORDER

LETTOW, Senior Judge.

        Plaintiff Amitzah Mitzvah has brought suit in this comi alleging violations of her access
to services at a shelter and poor treatment by two hospitals. Ms. Mitzvah specifically alleges an
instance of discrimination by employees of the Patricia Handy Women's Shelter by evicting her
in the middle of the night and breaching a contract with her. Comp!. at I. She also contends that
"[t]wo hospitals seriously attempted to murder [her]." Comp!. at 2. As compensation, Ms.
Mitzvah seeks $ I billion dollars. Comp I. cover sheet.

       Defendant ("the government") has moved to dismiss Ms. Mitzvah's complaint for lack of
subject-matter jurisdiction or, alternatively, for failure to state a claim upon which relief may be
granted, pursuant to Rules 12(b)(l) and 12(b)(6) of the Rules of the Court of Federal Claims
("RCFC"). See Def.'s Mot. to Dismiss Pl. 's Comp!. ("Def.'s Mot."), ECF No. 6.

     Because this court lacks subject-matter jurisdiction, Ms. Mitzvah's claims are
DISMISSED.
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                                         BACKGROUND
        Ms. Mitzvah alleges that she was staying at the Patricia Handy Women's Shelter in
Washington, D.C. one unspecified evening when employees of the shelter evicted her in the
middle of the night. Comp!. at 1. She claims that the eviction was "in violation of the law,"
Comp!. at I, and "terminate[d] a contract with me," Comp!. at 1. Thereafter, she claims that she
pursued an administration review hearing without success, and then endeavored to appeal to the
District of Columbia Court of Appeals but was denied relief, perhaps because of a missed filing
deadline. Comp!. at I. She additionally contends that she was threatened and that evidence was
tampered with. Comp!. at 3.
                                 STANDARDS FOR DECISION

                        Rule l 2(b)(l) -Lack ofSubject-Matter Jurisdiction

        The Tucker Act provides this court with jurisdiction over "any claim against the United
States founded either upon the Constitution, or any Act of Congress or any regulation of an
executive department, or upon any express or implied contract with the United States, or for
liquidated or unliquidated damages in cases not sounding in tort." 28 U.S.C. § 149l(a)(l). To
invoke this court's Tucker Act jurisdiction, "a plaintiff must identify a separate source of
substantive law that creates the right to money damages." Fisher v. United States, 402 F.3d
1167, 1172 (Fed. Cir. 2005) (en bane in relevant part) (citing United States v. Mitchell, 463 U.S.
206,216 (1983); United States v. Tes/an, 424 U.S. 392,398 (1976)). Ifa plaintiff fails to do so,
this court "should [dismiss] for lack of subject matter jurisdiction." Jan's Helicopter Serv., Inc.
v. Federal Aviation Admin., 525 F.3d 1299, 1308 (Fed. Cir. 2008) (quoting Greenlee Cty. v.
United States, 487 F.3d 871, 876 (Fed. Cir. 2007)).
        Ms. Mitzvah, as plaintiff, must establish jurisdiction by a preponderance of the evidence.
Trusted Integration, Inc. v. United States, 659 F.3d 1159, 1163 (Fed. Cir. 2011) (citing Reynolds
v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988)). 1 "Subject matter
jurisdiction is an inquiry that this court must raise sua sponte." Metabolite Labs., Inc. v.
Laboratory Corp. of Am. Holdings, 370 F.3d 1354, 1369 (Fed. Cir. 2004) (emphasis added). "If
a court lacks jurisdiction to decide the merits of a case, dismissal is required as a matter of law."
Gray v. United States, 69 Fed. Cl. 95, 98 (2005) (citing Ex parte Mccardle, 74 U.S. (7 Wall.)
506,514 (1868); Thoen v. United States, 765 F.2d 1110, 1116 (Fed. Cir. 1985)); see also RCFC
12(h)(3) ("If the court determines at any time that it lacks subject-matter jurisdiction, the court
must dismiss the action.").




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          A comi may "grant the pro se litigant leeway on procedural matters, such as pleading
requirements." McZeal v. Sprint Nextel Corp., 501 F.3d 1354, 1356 (Fed. Cir. 2007) (citing
Hughes v. Rowe, 449 U.S. 5, 9 (1980) ("An unrepresented litigant should not be punished for his
failure to recognize subtle factual or legal deficiencies in his claims.")). But this leniency cannot
extend to lessening jurisdictional requirements. See Kelley v. Secretary, United States Dep 't of
Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987) ("[A] court may not ... take a liberal view of. ..
jurisdictional requirement[s] and set a different rule for prose litigants only.").


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                                           ANALYSIS

        Ms. Mitzvah does not cite or allege any violations of federal statutes or money-mandating
constitutional provisions that would provide the court with jurisdiction. See Comp!. at 1, 2.
Although she cites a contract in her complaint, see Comp!. at I, no contract was provided and no
contracting person or entity is identified in the complaint. She also makes no allegations against
the United States. Instead, the gravamen of her complaint is against actions by the Patricia
Handy Women's Shelter, which is owned and operated by N Street Village. See, e.g., "About
the Village," available at https://www.nstreetvillage.org/about-the-village/ (last visited
November 22, 2019). The hospitals to which she refers are only generally identified in her
complaint by reference to "GWUH" and "Bridgepoint Capital Hill Hospital." Comp!. at caption.
Neither is a federal entity.

         This court can only hear claims against the United States. See United States v. Sherwood,
312 U.S. 584,588 (1941) (With limited exceptions, none of which are applicable here,
'Jurisdiction is confined to the rendition of money judgments in suits brought for that relief
against the United States, and if the relief sought is against others than the United States[,] the
suit as to them must be ignored as beyond the jurisdiction of the court."); see also Anderson v.
United States, 117 Fed. Cl. 330, 331 (2014) (ruling that the Court of Federal Claims lacks
jurisdiction "over any claims alleged against states, localities, state and local government
entities, or state and local government officials and employees."). As a result, this court cannot
exercise jurisdiction over any of Ms. Mitzvah's claims and must dismiss her complaint.

                                         CONCLUSION

       For the reasons stated, Ms. Mitzvah's complaint shall be DISMISSED without prejudice.
The clerk shall enter judgment accordingly.

       No costs.

       It is so ORDERED.

                                                     Chm~
                                                     Senior Judge




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